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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

EMMANUEL LLAMAS, an individual and                Case No.: _______________
California resident, on behalf of himself and all
others similarly situated,
                                                  CLASS ACTION COMPLAINT
                Plaintiff,
vs.                                               DEMAND FOR JURY TRIAL

TRUEFIRE, LLC, and TRUEFIRE, INC.

               Defendants.


       Plaintiff, Emmanuel Llamas (“Plaintiff”), brings this Class Action Complaint against

TrueFire, LLC and TrueFire, Inc. (collectively, “TrueFire” or “Defendants”), as an individual and

on behalf of all others similarly situated, and alleges, upon personal knowledge as to his own

actions and his counsels’ investigations, and upon information and belief as to all other matters, as

follows:

                                     I. INTRODUCTION

       1.      TrueFire specializes in selling online guitar lessons on TrueFire’s mobile apps and

popular websites, including www.truefire.com, www.truefirestudios.com, and www.jamplay.com.

The company claims to have “a worldwide community of over three million music students.” For

online sales, TrueFire uses an ecommerce platform to take customers’ personal and payment

information.

       2.      On or about March 9, 2020, TrueFire began notifying customers and various state

Attorneys General about a widespread data breach that occurred from August 3, 2019 to January

14, 2020. Hackers not only “scraped” many of TrueFire’s customers’ names from the website by

infecting it with malware, they also stole customers’ addresses, payment card numbers, CVV

security codes, and credit card expiration dates (“PII”) (the “Breach”). The criminals obtained


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everything they needed to illegally use TrueFire’s customers’ credit cards to make fraudulent

purchases, and to steal the customers’ identities.

          3.   Not only did hackers skim TrueFire’s customers’ PII, on information and belief the

stolen names and card information are now for sale on the dark web. That means the Breach

worked. Hackers accessed and then offered for sale the unencrypted, unredacted stolen PII to

criminals. Because of Defendants’ Breach, customers’ PII is still available on the dark web for

criminals to access and abuse. TrueFire’s customers face a lifetime risk of identity theft.

          4.   This PII was compromised due to TrueFire’s negligent and/or careless acts and

omissions and the failure to protect customers’ data. In addition to TrueFire’s failure to prevent

the Breach, Defendants failed to detect the Breach for over five months, and when they did

discover the Breach on January 10, 2020, it took them almost two more months to report the Breach

to the affected customers on or about March 9, 2020.

          5.   The stolen PII has great value to hackers: It is likely that hundreds of thousands of

music students—residents of most states—were affected by the Breach. For example, TrueFire

filed data breach notices in California, Indiana, Illinois, Massachusetts and Montana, among

others.

          6.   Plaintiff brings this action on behalf of all persons whose PII was compromised as

a result of Defendants’ failure to: (i) adequately protect their users’ PII; (ii) warn users of their

inadequate information security practices; and (iii) effectively monitor TrueFire’s websites, apps,

and ecommerce platforms for security vulnerabilities and incidents. Defendants’ conduct amounts

to negligence and violates several California and Florida statutes.

          7.   Plaintiff and similarly situated TrueFire customers (“Class Members”) have

suffered injury as a result of Defendants’ conduct. These injuries include: (i) lost or diminished

value of PII; (ii) out-of-pocket expenses associated with the prevention, detection, and recovery

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from identity theft, tax fraud, and/or unauthorized use of their PII; (iii) lost opportunity costs

associated with attempting to mitigate the actual consequences of the Breach, including but not

limited to lost time, (iv) deprivation of rights they possess under Florida’s Deceptive and Unfair

Trade Practices Act (Florida Statute § 501.203, et seq.); (v) deprivation of rights they possess under

the California Unfair Competition Law, (Cal. Business & Professions Code § 17200, et seq.); (vi)

deprivation of rights they possess under the California Consumer Privacy Act, (Cal. Civ. Code §

1798.100, et seq. (§ 1798.150(a)); and (vii) the continued and certainly an increased risk to their

PII, which: (a) remains available on the dark web for individuals to access and abuse; and (b)

remains in Defendants’ possession and is subject to further unauthorized disclosures so long as

Defendants fail to undertake appropriate and adequate measures to protect the PII.

                                         II. PARTIES

       8.      Plaintiff Emmanuel Llamas is a citizen of California residing in San Diego County,

California. Mr. Llamas purchased TrueFire classes in 2019 using his debit card, including on or

about October 11, 2019. He received TrueFire’s Notice of Data Breach, dated March 10, 2020,

on or about that date.

       9.      Defendant TrueFire, Inc (aka TrueFire.com, Inc.) was incorporated in Florida with

its principle place of business located at 2500 Emerson Avenue South, St. Petersburg, Florida,

from approximately February 26, 1999, until approximately November 22, 2019, when it was

converted to a limited liability company. During the relevant period and prior to that conversion,

TrueFire operated across the United States through TrueFire’s apps and websites.

       10.     Defendant TrueFire, LLC, is a Florida Limited Liability Company with its principal

place of business located at 2500 Emerson Avenue South, St. Petersburg, Florida. Upon

information and belief, the members of TrueFire, LLC, are: Ren F. Wright, Jr., a Florida resident;

and Ignite Legacy Holdings, LLC, whose sole member is Brad Wendkos, a Florida Resident.

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During the relevant period, TrueFire operated across the United States through TrueFire’s apps

and websites.

                                III. JURISDICTION AND VENUE

        11.      This Court has subject matter jurisdiction over this action under 28 U.S.C.

§ 1332(d) because this is a class action wherein the amount of controversy exceeds the sum or

value of $5,000,000, exclusive of interest and costs, there are more than 100 members in the

proposed class, and at least one member of the class is a citizen of a state different from

Defendants. Plaintiff is a citizen of California and therefore diverse from TrueFire, LLC, which is

headquartered in Florida.

        12.      This Court has personal jurisdiction over Defendants because TrueFire is

headquartered in St. Petersburg, Florida and conducts business in the state. Venue is proper in this

Court pursuant to 28 U.S.C. § 1391 because a substantial part of the events or omissions giving

rise to these claims occurred in, were directed to, and/or emanated from this District.

                                  IV. FACTUAL ALLEGATIONS

        Background

        13.      TrueFire was founded in 1991 and boasts that it has over 600 “top educators” and

what Guitar Player Magazine calls “the planet’s largest and most comprehensive selection of

online guitar lessons.”1 In late 2019, TrueFire, Inc. merged with a competing online guitar lesson

website, JamPlay.com, to form TrueFire, LLC, also referred to as TrueFire Studios. The “alliance”

of these companies, according to TrueFire, increased TrueFire’s worldwide customer base to over

3 million.2



1
 www.truefire.com/about (last accessed on Apr. 6, 2020).
2
 https://newyork.citybizlist.com/article/604008/truefire-studios-appoints-owen-grover-ceo (last accessed on Apr. 6,
2020).

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        14.      Customers demand security to safeguard their PII. TrueFire touts the secure nature

of TrueFire’s website in the Privacy Policy: “we strive to protect your personal data.”3 TrueFire

claims that it would be an “unlikely event” that TrueFire’s customers’ “personal data in our

control” would be “compromised.” TrueFire also states: “we may process your personal data to:

Protect you, us or others from threats (such as security threats or fraud),” and:

        TrueFire . . . is committed to respecting the privacy rights of its customers, visitors,
        and other users of the Company Websites . . . and Mobile Applications[.] We
        created this Privacy Policy to give you confidence as you visit and use our Services
        and to demonstrate our commitment to fair information practices and to the
        protection of privacy. This Privacy Policy is only applicable to the Services, and
        not to any other websites that you may be able to access from the Services, each of
        which may have data collection, storage, and use practices and policies that differ
        materially from this Privacy Policy.

        15.      The PCI DSS (Payment Card Industry Data Security Standard) compliance is a

requirement for businesses that store, process, or transmit payment card data. The PCI DSS defines

measures for ensuring data protection and consistent security processes and procedures around

online financial transactions.

        16.      As formulated by the PCI Security Standards Council, the mandates of PCI DSS

compliance include, in part: Developing and maintaining a security policy that covers all aspects

of the business, installing firewalls to protect data, and encrypting cardholder data that is

transmitted over public networks using anti-virus software and updating it regularly.4

        17.      TrueFire offers free memberships, options to purchase individual educational

products and services, and options to purchase subscriptions to certain educational products and

services. Customers can purchase a monthly or annual subscription for a product or service;

monthly fees are $29; annual fees range from $149 to $249 per year. A lifetime membership is


3
  TrueFire Privacy Policy, Effective Date: May 28, 2018; available at: www.truefire.com/privacy-policy (last
accessed on Apr. 6, 2020).
4
  PCI Security Standards Council, available at: https://www.pcisecuritystandards.org/ (last accessed Jan. 30, 2020).

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$1,499.5

        18.      To purchase products, services or subscriptions on TrueFire’s websites, customers

must create an account. To complete a purchase, at a minimum, the customer must enter the

following PII:

           •   Name;
           •   billing address;
           •   email address;
           •   name on the credit card;
           •   type of credit card;
           •   full credit card number;
           •   credit card expiration date; and
           •   security code, or CVV code (card verification number).

        19.      At no time during the final checkout process does TrueFire require customers to

expressly agree to TrueFire’s “Terms of Use” or “Terms & Conditions.”

        The Data Breach

        20.      Beginning on or about March 9, 2020, TrueFire LLC sent customers a Notice of

Data Breach.6 TrueFire’s Chief Customer Officer, Ren Wright, informed the recipients of the

notice that:

        What happened? On January 10, 2020, TrueFire discovered that an unauthorized
        person gained access to our computer system and, more specifically, to information
        that consumers had entered through the Website. While we do not store credit card
        information on our website, it appears that the unauthorized person gained access
        to the Website and could have accessed the data of consumers who made payment
        card purchases, while that data was being entered, between August 3, 2019 and
        January 14, 2020.

        What Information Was Involved? We cannot state with certainty that your data
        was specifically accessed, however you should know that the information that was
        potentially subject to unauthorized access includes your: name, address, payment
        card account number, card expiration data and security code.7

5
  https://truefire.com/all-access/upgrade/ (last accessed Apr. 6, 2020).
6
   TrueFire LLC’s Notification of Data Breach, March 9, 2020, archived by the California Attorney General,
available at: https://oag.ca.gov/system/files/TrueFire%20-%20Notice%20of%20Data%20Event%20-%20CA.pdf
(last accessed Apr. 6, 2020).
7
  Id.

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       What are we doing? We take the privacy and protection of personal information
       very seriously. As soon as we discovered the incident, we immediately took steps
       to address it, including working with computer forensic specialists to determine the
       full nature and scope of the intrusion and reporting the incident to law enforcement.
       We are continuing to monitor all activity on the Website to ensure the intrusion
       remains contained, and are working with an outside computer forensic team to
       monitor, remediate and identify any issues.

       21.     TrueFire’s customers’ information is likely for sale on the dark web and, on

information and belief, is still for sale to criminals. This means that the breach was successful;

unauthorized individuals accessed TrueFire’s customers’ unencrypted, unredacted information,

including “name, address, payment card account number, card expiration date and security code,”

and possibly more, without alerting Defendants, then offered the “scraped” information for sale

online. There is no indication that Defendants’ customers’ PII was removed from the dark web

where it likely remains.

       22.     During the time TrueFire admits hackers were “scraping” TrueFire’s customers’

PII, the FBI issued yet another warning to companies about this exact type of fraud. In the FBI’s

Oregon FBI Tech Tuesday: Building a Digital Defense Against E-Skimming, dated October 22,

2019, the agency stated:

       This warning is specifically targeted to . . . businesses . . . that take credit card
       payments online. E-skimming occurs when cyber criminals inject malicious code
       onto a website. The bad actor may have gained access via a phishing attack
       targeting your employees—or through a vulnerable third-party vendor attached to
       your company’s server.

       23.     The FBI gave some stern advice to companies like TrueFire:

       Here’s what businesses and agencies can do to protect themselves:
              •      Update and patch all systems with the latest security software.
              •      Anti-virus and anti-malware need to be up-to-date and firewalls
                     strong.
              •      Change default login credentials on all systems.
              •      Educate employees about safe cyber practices. Most importantly,
                     do not click on links or unexpected attachments in messages.


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                 •       Segregate and segment network systems to limit how easily cyber
                         criminals can move from one to another.

        24.      But Defendants apparently did not take this advice: hackers were actively scraping

customers’ PII off their website—and continued until at least January 14, 2020.

        25.      Web scraping or skimming data breaches are commonly made possible through a

vulnerability in a website or its backend content management system. Defendants did not use

reasonable security procedures and practices appropriate to the nature of the sensitive information

they were collecting, causing customers’ PII to be exposed and sold on the dark web.

        Scraping and E-Skimming Breaches

        26.      Magecart is a loose affiliation of hacker groups responsible for skimming payment

card attacks on various high-profile companies, including British Airways and Ticketmaster.8

Typically, these hackers insert virtual credit card skimmers or scrapers (also known as

formjacking) into a web application (usually the shopping cart), and proceed to scrape credit card

information to sell on the dark web.9

        27.      The hackers target what they refer to as the fullz; a term used by criminals to refer

to stealing the full primary account number, card holder contact information, credit card number,

CVV security code and expiration date. The fullz is exactly what TrueFire admits the malware

infecting TrueFire’s platform scraped.

        28.      These cyber-attacks exploit weaknesses in the code of the ecommerce platform,

without necessarily comprising the victim websites’ networks or servers.10 These attacks have

targeted payment processors, but the attack on British Airways in 2018 was far more tailored to


8
   Magecart Hits 80 Major eCommerce Sites in Card-Skimming Bonanza, Threatpost, Aug. 28, 2019, available at:
https://threatpost.com/magecart-ecommerce-card-skimming-bonanza/147765/ (last accessed Jan. 30, 2020).
9
  Id.
10
    What is Magecart and was it behind the Ticketmaster and BA hacks?, Computerworld, Sep. 18, 2018, available
at: https://www.computerworld.com/article/3427858/what-is-magecart-and-was-it-behind-the-ticketmaster-and-ba-
hacks-.html (last accessed Jan. 30, 2020).

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the company’s particular infrastructure, as may be the case here.11

         29.      Magecart and these scraping breaches are not new: RiskIQ’s earliest Magecart

observation occurred on August 8th, 2010.12 Since it’s been going on for almost a decade, and with

the well-publicized and widespread attacks on British Airways and Ticketmaster, among many

others in and since 2018, Defendants should have known the imminent danger facing Defendants’

millions of customers.

         30.      Unfortunately, despite all of the publicly available information of the continued

compromises of PII in this manner, including the FBI’s current warnings, Defendants’ approach

to maintaining the privacy and security of Plaintiff’s and Class Members’ PII was negligent, or at

the very least, Defendants did not maintain reasonable security procedures and practices

appropriate to the nature of the information to protect their customers’ valuable PII.13

         Value of Personally Identifiable Information

         31.      The PII of consumers remains of high value to criminals, as evidenced by the prices

they will pay through the dark web. Numerous sources cite dark web pricing for stolen identity

credentials. For example, personal information can be sold at a price ranging from $40 to $200,

and bank details have a price range of $50 to $200.14 Experian reports that a stolen credit or debit




11
    Id.
12
      Magecart: New Research Shows the State of a Growing Threat, RiskIQ, Oct. 4, 2019, available at:
https://www.riskiq.com/blog/external-threat-management/magecart-growing-threat/ (last accessed Jan. 30, 2020).
13
   While skimming attacks have become more popular, the practice of hackers using legitimate online services to host
their infrastructure has expanded. Researchers at Malwarebytes recently discovered a rash of skimmers on the Heroku
engagement platform, which is a PaaS run by Salesforce. This platform offers a free starter service for legitimate app
developers to deploy, manage and scale their apps without needing to maintain their own infrastructure. Hackers are
registering free accounts on Heroku to host their skimming schemes. Malwarebytes reported its findings to the
Salesforce Abuse Operations team in late 2019. There’s an app for that: web skimmers found on PaaS Heroku,
Malwarebytes Labs, Dec. 4, 2019, available at: https://blog.malwarebytes.com/web-threats/2019/12/theres-an-app-
for-that-web-skimmers-found-on-paas-heroku/ (last accessed Jan. 31, 2020).
14
    Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct. 16, 2019, available
at:     https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-how-much-it-costs/             (last
accessed Jan. 30, 2020).

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card number can sell for $5 to $110 on the dark web; the fullz sold for $30 in 2017.15 Criminals

can also purchase access to entire company data breaches from $900 to $4,500.16

        32.      At all relevant times, Defendants knew, or reasonably should have known, of the

importance of safeguarding PII and of the foreseeable consequences that would occur if

Defendants’ data security system was breached, including, specifically, the significant costs that

would be imposed on Defendants’ customers as a result of a breach.

        33.      Defendants were, or should have been, fully aware of the significant volume of

daily credit and debit card transactions on Defendants’ website—the malware infected Defendants’

platform during the lead up to Christmas 2019—amounting to thousands of payment card

transactions, and thus, the significant number of individuals who would be harmed by a breach of

Defendants’ systems.

        Plaintiff Llamas’ Experience

        34.      Plaintiff Emmanuel Llamas first became a member of TrueFire through

www.truefire.com from his home in San Diego County, California, in or about June 2019. On or

about July 4, 2019, he began purchasing online guitar lessons. He made numerous purchases using

his bank debit card, including a purchase on or about October 11, 2019, during the period TrueFire

admits to being breached.

        35.      Mr. Llamas made these and other purchases through his TrueFire account. On the

payment platform, Mr. Llamas entered his PII: name, billing address, payment card type and full

number, CVV security code, debit card expiration date, and email address. During these

transactions, Mr. Llamas was not asked to “agree” to any “Terms of Use” or “Terms &


15
   Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec. 6, 2017, available
at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-information-is-selling-for-on-
the-dark-web/ (last accessed Jan. 30, 2020).
16
   In the Dark, VPNOverview, 2019, available at: https://vpnoverview.com/privacy/anonymous-browsing/in-the-
dark/ (last accessed Jan. 30, 2020).

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Conditions.”

        36.     In late October 2019, Mr. Llamas noticed that the debit card he used on TrueFire

earlier that same month was used multiple times by unknown third-parties in another state. He

immediately contacted his bank by secure messaging and by telephone. The bank confirmed that

his card had been used by unauthorized third-parties.

        37.     The bank changed Mr. Llamas’ account number in response to the illegal charges

and mailed him a new debit card. While waiting for the new account number, Mr. Llamas had no

choice but to personally go to his bank to withdraw funds to continue to make essential purchases.

This required Mr. Llamas to take time out of his day to drive to the bank, withdraw the funds, and

drive back to return to his daily activities, time he otherwise would have spent performing other

activities, such as his job and/or leisurely activities for the enjoyment of life.

        38.     On or about March 10, 2020, TrueFire notified Mr. Llamas by U.S. mail of the

Breach in the Notice of Data Breach. He did not receive notice by email.

        39.     In response to the Notice of Data Breach, Mr. Llamas again had to spend time

dealing with the consequences of the Breach, which includes time reviewing the account

compromised by the breach, contacting his bank, exploring credit monitoring options, and self-

monitoring his accounts. This is time Mr. Llamas otherwise would have spent performing other

activities, such as his job and/or leisurely activities for the enjoyment of life.

        40.     Knowing that the hacker stole his PII, and that his PII may be available for sale on

the dark web, has caused Mr. Llamas great anxiety. He is now very concerned about credit card

theft and identity theft in general. This breach has given Mr. Llamas hesitation about using

TrueFire’s services, and reservations about shopping on other online websites.

        41.     Now, due to Defendants’ misconduct and the resulting Breach, hackers obtained

his PII at no compensation to Mr. Llamas whatsoever. That is money lost for him, and money

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gained for the hackers, who could sell his PII on the dark web.

         Plaintiff Llamas’ Efforts to Secure PII

         42.      Defendants’ Breach caused Mr. Llamas harm.

         43.      Prior to the activity described above during the period in which the Breach

occurred, the debit card Plaintiff used on Defendants’ website had never been stolen or

compromised. Mr. Llamas reviewed his credit monitoring service, credit report, and other financial

statements routinely and this card had not been compromised in any manner.

         44.      Additionally, Mr. Llamas never transmitted unencrypted PII over the internet or

any other unsecured source.

         45.      Mr. Llamas stores any and all documents containing his PII in a safe and secure

physical location, and destroys any documents he receives in the mail that contain any of his PII,

or that may contain any information that could otherwise be used to compromise his debit card.

         TrueFire’s Offer of No Credit Monitoring is Inadequate

         46.      At present, TrueFire, unlike most companies that commit data breaches, has not

offered TrueFire’s affected customers free enrollment in a credit monitoring service. Although

TrueFire admits that Mr. Llamas’ and other Class Members’ unencrypted credit card numbers,

CVV codes and expiration dates, among other things, have been accessed by unauthorized third-

parties through their websites, TrueFire is not willing to even attempt to protect their customers

with basic credit monitoring.17

         47.      Consumers’ PII may exist on the dark web for months, or even years, before it is

used by criminals. With monitoring, and no form of insurance or other protection, Plaintiff and


17
  In the recent Equifax data breach, for example, Equifax agreed to free monitoring of victims’ credit reports at all
three major credit bureaus for four years, plus $1 million of identity theft insurance. For an additional six years,
victims can opt for free monitoring, but it only monitors victims’ credit reports at one credit bureau, Equifax. In
addition, if a victim’s child was a minor in May 2017, he or she is eligible for a total of 18 years of free credit
monitoring under the same terms as for adults.

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Class Members remain unprotected from the real and long-term threats against their PII; PII that

TrueFire admits was scraped from TrueFire’s apps and websites.

       48.     Therefore, the “monitoring” services are inadequate, and Plaintiff and Class

Members have a real and cognizable interest in obtaining equitable relief, in addition to the

monetary relief requested herein.

       49.     TrueFire’s response to the Breach, and the services it offered to consumers to

address the breach, are insufficient, resulting in consumers spending a significant amount of time

taking measures to protect themselves. Thus, TrueFire cannot be heard to complain about

customers taking TrueFire’s advice and suggestions for how to respond in the face of this latest

data breach.

                                V. CLASS ALLEGATIONS

       50.     Plaintiff brings this nationwide class action on behalf of himself and on behalf of

all others similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules

of Civil Procedure.

       51.     The Nationwide Class that Plaintiff seeks to represent is defined as follows:

       All individuals whose PII was compromised in the data breach first announced by
       TrueFire LLC on March 9, 2020 (the “Nationwide Class”).

       52.     The California Subclass is initially defined as follows:

       All persons residing in California whose PII was compromised in the data breach first

       announced by TrueFire LLC on March 9, 2020 (the “California Subclass”).

       53.     Excluded from the Class are the following individuals and/or entities: Defendants

and Defendants’ parents, subsidiaries, affiliates, officers and directors, current or former

employees, and any entity in which Defendants have a controlling interest; all individuals who

make a timely election to be excluded from this proceeding using the correct protocol for opting


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out; any and all federal, state or local governments, including but not limited to their departments,

agencies, divisions, bureaus, boards, sections, groups, counsels and/or subdivisions; and all judges

assigned to hear any aspect of this litigation, as well as their immediate family members.

       54.     Plaintiff reserves the right to modify or amend the definition of the proposed Class

before the Court determines whether certification is appropriate.

       55.     Numerosity, Fed R. Civ. P. 23(a)(1): The Nationwide Class and California Subclass

(the “Classes”) are so numerous that joinder of all members is impracticable. Defendants have

identified thousands of customers whose PII may have been improperly accessed in the Breach,

and the Classes are apparently identifiable within Defendants’ records.

       56.     Commonality, Fed. R. Civ. P. 23(a)(2) and (b)(3): Questions of law and fact

common to the Classes exist and predominate over any questions affecting only individual Class

Members. These include:

         a. Whether and when Defendants actually learned of the Breach and whether their

             response was adequate;

         b. Whether Defendants owed a duty to the Classes to exercise due care in collecting,

             storing, safeguarding and/or obtaining their PII;

         c. Whether Defendants breached that duty;

         d. Whether Defendants implemented and maintained reasonable security procedures

             and practices appropriate to the nature of storing Plaintiff’s and Class Members’ PII;

         e. Whether Defendants acted negligently in connection with the monitoring and/or

             protecting of Plaintiff’s and Class Members’ PII;

         f. Whether Defendants knew or should have known that they did not employ reasonable

             measures to keep Plaintiff’s and Class Members’ PII secure and prevent loss or

             misuse of that PII;

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         g. Whether Defendants adequately addressed and fixed the vulnerabilities which

               permitted the Breach to occur;

         h. Whether Defendants caused Plaintiff and Class Members damages;

         i. Whether Defendants violated the law by failing to promptly notify Class Members

               that their PII had been compromised;

         j. Whether Plaintiff and the other Class Members are entitled to credit monitoring and

               other monetary relief;

         k. Whether Defendants violated Florida’s Deceptive and Unfair Trade Practices Act

               (Florida Statute § 501.203, et seq.);

         l. Whether Defendants violated the California Unfair Competition Law (Business &

               Professions Code § 17200, et seq.)

         m. Whether Defendants violated the California Consumer Privacy Act (Cal. Civ. Code

               § 1798.100, et seq. (§ 1798.150(a)).

       57.      Typicality, Fed. R. Civ. P. 23(a)(3): Plaintiff’s claims are typical of those of other

Class Members because all had their PII compromised as a result of the Breach, due to Defendants’

misfeasance.

       58.      Policies Generally Applicable to the Class: This class action is also appropriate for

certification because Defendants have acted or refused to act on grounds generally applicable to

the Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible

standards of conduct toward the Class Members, and making final injunctive relief appropriate

with respect to the Class as a whole. Defendants’ policies challenged herein apply to and affect

Class Members uniformly and Plaintiff’s challenge of these policies hinges on Defendants’

conduct with respect to the Class as a whole, not on facts or law applicable only to Plaintiff.

       59.      Adequacy, Fed. R. Civ. P. 23(a)(4): Plaintiff will fairly and adequately represent

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and protect the interests of the Class Members in that he has no disabling conflicts of interest that

would be antagonistic to those of the other Members of the Class. Plaintiff seek no relief that is

antagonistic or adverse to the Members of the Class and the infringement of the rights and the

damages he has suffered are typical of other Class Members. Plaintiff has retained counsel

experienced in complex consumer class action litigation, and Plaintiff intends to prosecute this

action vigorously.

       60.     Superiority and Manageability, Fed. R. Civ. P. 23(b)(3): The class litigation is an

appropriate method for fair and efficient adjudication of the claims involved. Class action

treatment is superior to all other available methods for the fair and efficient adjudication of the

controversy alleged herein; it will permit a large number of class members to prosecute their

common claims in a single forum simultaneously, efficiently, and without the unnecessary

duplication of evidence, effort, and expense that hundreds of individual actions would require.

Class action treatment will permit the adjudication of relatively modest claims by certain class

members, who could not individually afford to litigate a complex claim against large corporations,

like Defendants. Further, even for those class members who could afford to litigate such a claim,

it would still be economically impractical and impose a burden on the courts.

       61.     The nature of this action and the nature of laws available to Plaintiff and the Class

make the use of the class action device a particularly efficient and appropriate procedure to afford

relief to Plaintiff and the Class for the wrongs alleged because Defendants would necessarily gain

an unconscionable advantage since they would be able to exploit and overwhelm the limited

resources of each individual Class Member with superior financial and legal resources; the costs

of individual suits could unreasonably consume the amounts that would be recovered; proof of a

common course of conduct to which Plaintiff were exposed is representative of that experienced

by the Class and will establish the right of each Class Member to recover on the cause of action

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alleged; and individual actions would create a risk of inconsistent results and would be unnecessary

and duplicative of this litigation.

        62.     TrueFire is based in Florida, and on information and belief, all managerial decisions

emanate from Florida, and therefore application of Florida law to the Nationwide Class is

appropriate.

        63.     The litigation of the claims brought herein is manageable. Defendants’ uniform

conduct, the consistent provisions of the relevant laws, and the ascertainable identities of Class

Members demonstrates that there would be no significant manageability problems with

prosecuting this lawsuit as a class action.

        64.     Adequate notice can be given to Class Members directly using information

maintained in Defendants’ records.

        65.     Unless a Class-wide injunction is issued, Defendants may continue in their failure

to properly secure the PII of Class Members, Defendants may continue to refuse to provide proper

notification to Class Members regarding the Breach, and Defendants may continue to act

unlawfully as set forth in this Complaint.

        66.     Further, Defendants have acted or refused to act on grounds generally applicable to

the Class and, accordingly, final injunctive or corresponding declaratory relief with regard to the

Class Members as a whole is appropriate under Rule 23(b)(2) of the Federal Rules of Civil

Procedure.

        67.     Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

because such claims present only particular, common issues, the resolution of which would

advance the disposition of this matter and the parties’ interests therein. Such particular issues

include, but are not limited to:

               a. Whether Defendants owed a legal duty to Plaintiff and the Class Members to

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                  exercise due care in collecting, storing, using, and safeguarding their PII;

              b. Whether Defendants breached a legal duty to Plaintiff and the Class Members to

                  exercise due care in collecting, storing, using, and safeguarding their PII;

              c. Whether Defendants failed to comply with their own policies and applicable

                  laws, regulations, and industry standards relating to data security;

              d. Whether Defendants failed to implement and maintain reasonable security

                  procedures and practices appropriate to the nature and scope of the information

                  compromised in the Breach; and

              e. Whether Class Members are entitled to actual damages, credit monitoring or

                  other injunctive relief, and/or punitive damages as a result of Defendants’

                  wrongful conduct.

                                          COUNT I
                                          Negligence
                       (On Behalf of Plaintiff and the Nationwide Class)

       68.     Plaintiff re-allege and incorporates by reference herein all of the allegations

contained in paragraphs 1 through 67.

       69.     As a condition of their utilizing the services of Defendants, Plaintiff and Class

Members were obligated to provide Defendants with the PII.

       70.     Plaintiff and the Class Members entrusted their PII to Defendants on the premise

and with the understanding that Defendants would safeguard their information, use their PII for

business purposes only, and/or not disclose their PII to unauthorized third parties.

       71.     Defendants have full knowledge of the sensitivity of the PII and the types of harm

that Plaintiff and Class Members could and would suffer if the PII were wrongfully disclosed.

       72.     Defendants knew or reasonably should have known that the failure to exercise due

care in the collecting, storing, and using of their customers’ PII involved an unreasonable risk of

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harm to Plaintiff and Class Members, even if the harm occurred through the criminal acts of a third

party.

         73.    Defendants had a duty to exercise reasonable care in safeguarding, securing, and

protecting such information from being compromised, lost, stolen, misused, and/or disclosed to

unauthorized parties. This duty includes, among other things, designing, maintaining, and testing

Defendants’ security protocols to ensure that Plaintiff and Class Members’ information in

Defendants’ possession was adequately secured and protected.

         74.    Defendants also had a duty to have procedures in place to detect and prevent the

improper access and misuse of Plaintiff’s and Class Members’ PII.

         75.    A breach of security, unauthorized access, and resulting injury to Plaintiff and the

Class Members was reasonably foreseeable, particularly in light of Defendants’ inadequate

information security practices.

         76.    Plaintiff and the Class Members were the foreseeable and probable victims of any

inadequate security practices and procedures. Defendants knew of should have known of the

inherent risks in collecting and storing the PII of Plaintiff and the Class, the critical importance of

providing adequate security of that PII, and the necessity for encrypting PII stored on Defendants’

systems.

         77.    Defendants’ own conduct created a foreseeable risk of harm to Plaintiff and Class

Members. Defendants’ misconduct included, but was not limited to, their failure to take the steps

and opportunities to prevent the Breach as set forth herein. Defendants’ misconduct also included

their decisions not to comply with industry standards for the safekeeping of Plaintiff’s and Class

Members’ PII.

         78.    Plaintiff and the Class Members had no ability to protect their PII that was in

Defendants’ possession.

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       79.     Defendants were in a position to protect against the harm suffered by Plaintiff and

Class Members as a result of the Breach.

       80.     Defendants had and continue to have a duty to adequately disclose that the PII of

Plaintiff and Class Members within Defendants’ possession might have been compromised, how

it was compromised, and precisely the types of information that were compromised and when.

Such notice was necessary to allow Plaintiff and the Class Members to take steps to prevent,

mitigate, and repair any identity theft and the fraudulent use of their PII by third parties.

       81.     Defendants had a duty to employ proper procedures to prevent the unauthorized

dissemination of the PII of Plaintiff and Class Members.

       82.     Defendants have admitted that the PII of Plaintiff and Class Members was

wrongfully disclosed to unauthorized third persons as a result of the Breach.

       83.     Defendants, through their actions and/or omissions, unlawfully breached their

duties to Plaintiff and Class Members by failing to implement industry protocols and exercise

reasonable care in protecting and safeguarding the PII of Plaintiff and Class Members during the

time the PII was within Defendants’ possession or control.

       84.     Defendants improperly and inadequately safeguarded the PII of Plaintiff and Class

Members in deviation of standard industry rules, regulations, and practices at the time of the

Breach.

       85.     Defendants failed to heed industry warnings and alerts to provide adequate

safeguards to protect customers’ PII in the face of increased risk of theft.

       86.     Defendants, through their actions and/or omissions, unlawfully breached their duty

to Plaintiff and Class Members by failing to have appropriate procedures in place to detect and

prevent dissemination of their customers/patients’ PII.

       87.     Defendants, through their actions and/or omissions, unlawfully breached their duty

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to adequately and timely disclose to Plaintiff and Class Members the existence and scope of the

Breach.

       88.     But for Defendants’ wrongful and negligent breach of duties owed to Plaintiff and

Class Members, the PII of Plaintiff and Class Members would not have been compromised.

       89.     There is a close causal connection between Defendants’ failure to implement

security measures to protect the PII of Plaintiff and Class Members and the harm suffered or risk

of imminent harm suffered by Plaintiff and the Class. Plaintiff’s and Class Members’ PII was

stolen and accessed as the proximate result of Defendants’ failure to exercise reasonable care in

safeguarding such PII by adopting, implementing, and maintaining appropriate security measures.

       90.     As a direct and proximate result of Defendants’ negligence, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) actual identity theft;

(ii) the loss of the opportunity how their PII is used; (iii) the compromise, publication, and/or theft

of their PII; (iv) out-of-pocket expenses associated with the prevention, detection, and recovery

from identity theft, tax fraud, and/or unauthorized use of their PII; (v) lost opportunity costs

associated with effort expended and the loss of productivity addressing and attempting to mitigate

the actual and future consequences of the Breach, including but not limited to efforts spent

researching how to prevent, detect, contest, and recover from tax fraud and identity theft; (vi) costs

associated with placing freezes on credit reports; (vii) the continued risk to their PII, which remain

in Defendants’ possession and is subject to further unauthorized disclosures so long as Defendants

fail to undertake appropriate and adequate measures to protect the PII of customers in their

continued possession; (viii) future costs in terms of time, effort, and money that will be expended

to prevent, detect, contest, and repair the impact of the PII compromised as a result of the Breach

for the remainder of the lives of Plaintiff and Class Members; and (ix) the diminished value of

Defendants’ goods and services they received.

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           91.   As a direct and proximate result of Defendants’ negligence, Plaintiff and Class

Members have suffered and will continue to suffer other forms of injury and/or harm, including,

but not limited to, anxiety, emotional distress, loss of privacy, and other economic and non-

economic losses.

                                           COUNT II
                                       Invasion of Privacy
                        (On Behalf of Plaintiff and the Nationwide Class)

           92.   Plaintiff restate and reallege paragraphs 1 through 67 above as if fully set forth

herein.

           93.   Plaintiff and Class Members had a legitimate expectation of privacy to their PII and

were entitled to the protection of this information against disclosure to unauthorized third parties.

           94.   Defendants owed a duty to their customers, including Plaintiff and Class Members,

to keep their PII contained as a part thereof, confidential.

           95.   Defendants failed to protect and released to unknown and unauthorized third parties

the PII of Plaintiff and Class Members.

           96.   Defendants allowed unauthorized and unknown third parties unfettered access to

and examination of the PII of Plaintiff and Class Members, by way of Defendants’ failure to protect

the PII.

           97.   The unauthorized release to, custody of, and examination by unauthorized third

parties of the PII of Plaintiff and Class Members is highly offensive to a reasonable person.

           98.   The intrusion was into a place or thing, which was private and is entitled to be

private. Plaintiff and Class Members disclosed their PII to Defendants as part of their use of

Defendants’ services, but privately with an intention that the PII would be kept confidential and

would be protected from unauthorized disclosure. Plaintiff and Class Members were reasonable in

their belief that such information would be kept private and would not be disclosed without their

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authorization.

         99.     The Breach at the hands of Defendants constitutes an intentional interference with

Plaintiff and Class Members’ interest in solitude or seclusion, either as to their persons or as to

their private affairs or concerns, of a kind that would be highly offensive to a reasonable person.

         100.    Defendants acted with a knowing state of mind when they permitted the Breach to

occur because they were with actual knowledge that their information security practices were

inadequate and insufficient.

         101.    Because Defendants acted with this knowing state of mind, they had notice and

knew the inadequate and insufficient information security practices would cause injury and harm

to Plaintiff and Class Members.

         102.    As a proximate result of the above acts and omissions of Defendants, the PII of

Plaintiff and Class Members was disclosed to and used by third parties without authorization,

causing Plaintiff and Class Members to suffer damages.

         103.    Unless and until enjoined, and restrained by order of this Court, Defendants’

wrongful conduct will continue to cause great and irreparable injury to Plaintiff and Class

Members in that the PII maintained by Defendants can be viewed, distributed, and used by

unauthorized persons. Plaintiff and Class Members have no adequate remedy at law for the injuries

in that a judgment for monetary damages will not end the invasion of privacy for Plaintiff and the

Class.

                                              COUNT III
                                           Negligence Per Se
                            (On Behalf of Plaintiff and the Nationwide Class)

         104.    Plaintiff re-allege and incorporate by reference herein all of the allegations

contained in paragraphs 1 through 67.

         105.    Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting commerce,”

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including, as interpreted and enforced by the FTC, the unfair act or practice by businesses, such as

Defendants, of failing to use reasonable measures to protect PII. The FTC publications and orders

described above also form part of the basis of Defendants’ duty in this regard.

        106.    Defendants violated Section 5 of the FTC Act by failing to use reasonable measures

to protect PII and not complying with applicable industry standards. Defendants’ conduct was

particularly unreasonable given the nature and amount of PII it obtained and stored, and the

foreseeable consequences of the Breach for companies of Defendants’ magnitude, including,

specifically, the immense damages that would result to Plaintiff and Class Members.

        107.    Defendants’ violations of Section 5 of the FTC Act constitute negligence per se.

        108.    Plaintiff and Class Members are within the class of persons that the FTC Act was

intended to protect.

        109.    The harm that occurred as a result of the Breach is the type of harm the FTC Act

was intended to guard against. The FTC has pursued enforcement actions against businesses,

which, as a result of their failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same harm as that suffered by Plaintiff and the Class Members.

        110.    As a direct and proximate result of Defendants’ negligence per se, Plaintiff and

Class Members have suffered and will suffer injury, including but not limited to: (i) actual identity

theft; (ii) the loss of the opportunity how their PII is used; (iii) the compromise, publication, and/or

theft of their PII; (iv) out-of-pocket expenses associated with the prevention, detection, and

recovery from identity theft, tax fraud, and/or unauthorized use of their PII; (v) lost opportunity

costs associated with effort expended and the loss of productivity addressing and attempting to

mitigate the actual and future consequences of the Breach, including but not limited to efforts spent

researching how to prevent, detect, contest, and recover from tax fraud and identity theft; (vi) costs

associated with placing freezes on credit reports; (vii) the continued risk to their PII, which remain

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in Defendants’ possession and is subject to further unauthorized disclosures so long as Defendants

fail to undertake appropriate and adequate measures to protect the PII of customers/patients and

former customers/patients in their continued possession; (viii) future costs in terms of time, effort,

and money that will be expended to prevent, detect, contest, and repair the impact of the PII

compromised as a result of the Breach for the remainder of the lives of Plaintiff and Class

Members; and (ix) the diminished value of Defendants’ goods and services they received.

       111.    As a direct and proximate result of Defendants’ negligence per se, Plaintiff and

Class Members have suffered and will continue to suffer other forms of injury and/or harm,

including, but not limited to, anxiety, emotional distress, loss of privacy, and other economic and

non-economic losses

                                          COUNT IV
                                      Unjust Enrichment
                       (On Behalf of Plaintiff and the Nationwide Class)

       112.    Plaintiff re-allege and incorporate by reference herein all of the allegations

contained in paragraphs 1 through 67.

       113.    Plaintiff and Class Members conferred a monetary benefit on Defendants.

Specifically, they purchased goods and services from Defendants and provided Defendants with

their PII. In exchange, Plaintiff and Class Members should have received from Defendants the

goods and services that were the subject of the transaction and should have been entitled to have

Defendants protect their PII with adequate data security.

       114.    Defendants knew that Plaintiff and Class Members conferred a benefit on

Defendants and accepted and have accepted or retained that benefit. Defendants profited from the

purchases and used the PII of Plaintiff and Class Members for business purposes.

       115.    The amounts Plaintiff and Class Members paid for Defendants’ goods and services

should have been used, in part, to pay for the administrative costs of data management and security.

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       116.    Under the principles of equity and good conscience, Defendants should not be

permitted to retain the money belonging to Plaintiff and Class Members, because Defendants failed

to implement the data management and security measures that are mandated by industry standards.

       117.    Defendants failed to secure the PII of Plaintiff and Class Members and, therefore,

did not provide full compensation for the benefit Plaintiff and Class Members provided.

       118.    Defendants acquired the PII through inequitable means in that they failed to

disclose the inadequate security practices previously alleged.

       119.    If Plaintiff and Class Members knew that Defendants would not secure their PII

using adequate security, they would not have made purchases with Defendants.

       120.    Plaintiff and Class Members have no adequate remedy at law.

       121.    As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) actual identity theft;

(ii) the loss of the opportunity how their PII is used; (iii) the compromise, publication, and/or theft

of their PII; (iv) out-of-pocket expenses associated with the prevention, detection, and recovery

from identity theft, tax fraud, and/or unauthorized use of their PII; (v) lost opportunity costs

associated with effort expended and the loss of productivity addressing and attempting to mitigate

the actual and future consequences of the Breach, including but not limited to efforts spent

researching how to prevent, detect, contest, and recover from tax fraud and identity theft; (vi) costs

associated with placing freezes on credit reports; (vii) the continued risk to their PII, which remain

in Defendants’ possession and is subject to further unauthorized disclosures so long as Defendants

fail to undertake appropriate and adequate measures to protect the PII of customers/patients and

former customers/patients in their continued possession; (viii) future costs in terms of time, effort,

and money that will be expended to prevent, detect, contest, and repair the impact of the PII



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compromised as a result of the Breach for the remainder of the lives of Plaintiff and Class

Members; and (ix) the diminished value of Defendants’ goods and services they received.

       122.    As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

Members have suffered and will continue to suffer other forms of injury and/or harm, including,

but not limited to, anxiety, emotional distress, loss of privacy, and other economic and non-

economic losses.

       123.    Defendants should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiff and Class Members, proceeds that they unjustly received from

them. In the alternative, Defendants should be compelled to refund the amounts that Plaintiff and

Class Members overpaid for Defendants goods and services.

                                          COUNT V
                                    Declaratory Judgment
                       (On Behalf of Plaintiff and the Nationwide Class)

       124.    Plaintiff re-allege and incorporate by reference herein all of the allegations

contained in paragraphs 1 through 67.

       125.    Defendants owe duties of care to Plaintiff and Class Members which would require

it to adequately secure PII.

       126.    Defendants still possess PII regarding Plaintiff and Class Members.

       127.    Plaintiff and Class Members’ PII is still for sale on the dark web.

       128.    Although Defendants claim they “are working with an outside computer forensic

team to monitor, remediate and identify any issues,” there is no detail on what, if any, fixes have

really occurred.

       129.    Plaintiff and Class Members are at risk of harm due to the exposure of their PII and

Defendants’ failure to address the security failings that lead to such exposure.



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       130.    There is no reason to believe that Defendants’ security measures are any more

adequate than they were before the breach to meet Defendants’ contractual obligations and legal

duties, and there is no reason to think Defendants have no other security vulnerabilities that have

not yet been knowingly exploited.

       131.    Plaintiff, therefore, seek a declaration that: (1) each Defendants’ existing security

measures do not comply with Defendants’ explicit or implicit contractual obligations and duties

of care to provide reasonable security procedures and practices appropriate to the nature of the

information to protect customers’ personal information; and (2) to comply with Defendants’

explicit or implicit contractual obligations and duties of care, Defendants must implement and

maintain reasonable security measures, including, but not limited to:

              a. Ordering that Defendants engage third-party security auditors/penetration testers

                  as well as internal security personnel to conduct testing, including simulated

                  attacks, penetration tests, and audits on Defendants’ systems on a periodic basis,

                  and ordering Defendants to promptly correct any problems or issues detected by

                  such third-party security auditors;

              b. Ordering that Defendants engage third-party security auditors and internal

                  personnel to run automated security monitoring;

              c. Ordering that Defendants audit, test, and train Defendants’ security personnel

                  regarding any new or modified procedures;

              d. Ordering that Defendants user applications be segmented by, among other

                  things, creating firewalls and access controls so that if one area is compromised,

                  hackers cannot gain access to other portions of Defendants’ systems;

              e. Ordering that Defendants conduct regular database scanning and securing

                  checks;

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              f. Ordering that Defendants routinely and continually conduct internal training and

                  education to inform internal security personnel how to identify and contain a

                  breach when it occurs and what to do in response to a breach;

              g. Ordering Defendants to purchase credit monitoring services for Plaintiff and

                  Class Members for a period of ten years; and

              h. Ordering Defendants to meaningfully educate Defendants’ users about the

                  threats they face as a result of the loss of their PII to third-parties, as well as the

                  steps Defendants customers must take to protect themselves.

                                         COUNT VI
              Violation of Florida’s Deceptive and Unfair Trade Practices Act,
                              Florida Statute § 501.203, et seq.
                      (On Behalf of Plaintiff and the Nationwide Class)

       132.    Plaintiff re-allege and incorporate by reference herein all of the allegations

contained in paragraphs 1 through 67.

       133.    Plaintiff and the Class Members are “consumers.” Fla. Stat. § 501.203(7).

       134.    Plaintiff and Class Members purchased “things of value” insofar as products and

services from Defendants. These purchases were made primarily for personal, family, or household

purposes. Fla. Stat. § 501.203(9).

       135.    Defendants engaged in the conduct alleged in this Complaint by advertising and

entering into transactions intended to result, and which did result, in the sale, rental of goods,

services, and/or property to consumers, including Plaintiff and the Class Members. Fla. Stat. §

501.203(8).

       136.    Defendants engaged in, and their acts and omissions affected trade and commerce.

Defendants’ acts, practices, and omissions were done in the course of Defendants’ business of




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advertising, marketing, offering to sell, and selling and/or renting goods and services throughout

Florida and the United States. Fla. Stat. § 501.203(8).

       137.    Defendants, headquartered and operating in Florida, engaged in deceptive, unfair,

and unlawful trade acts or practices in the conduct of trade or commerce, in violation of Fla. Stat.

§ 501.204(1), including but not limited to the following:

              a. charging a premium for the goods and services, implicitly representing that the

                  premium would be used to protect Plaintiff’s and Class Members’ protected

                  health information and other PII;

              b. failure to timely and accurately disclose the Breach to Plaintiff and the Class

                  Members;

              c. continued acceptance of credit and debit card payments and storage of other PII

                  after Defendants knew or should have known of the Breach and before they

                  allegedly remediated the Breach.

       138.    This conduct is considered unfair methods of competition, and constitutes unfair

and unconscionable acts and practices. Fla. Stat. § 501.204(1).

       139.    As a direct and proximate result of Defendants’ violation of Florida’s Deceptive

and Unfair Trade Practices Act (“FDUTPA”), Plaintiff and the Class Members suffered actual

damages by paying a premium for Defendants’ goods and services with the understanding that at

least part of the premium would be applied toward sufficient and adequate information security

practices that comply with industry standards, when in fact no portion of that premium was applied

toward sufficient and adequate information security practices. Fla. Stat. § 501.211(2).

       140.    Moreover, as a direct result of Defendants’ knowing violation of FDUTPA,

Plaintiff and Class Members are not only entitled to actual damages, but also declaratory judgment



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that Defendants’ actions and practices alleged herein violate FDUTPA, and injunctive relief,

including, but not limited to:

         a. Ordering that Defendants engage third-party security auditors/penetration testers as

             well as internal security personnel to conduct testing, including simulated attacks,

             penetration tests, and audits on Defendants’ systems on a periodic basis, and ordering

             Defendant to promptly correct any problems or issues detected by such third-party

             security auditors;

         b. Ordering that Defendants engage third-party security auditors and internal personnel

             to run automated security monitoring;

         c. Ordering that Defendants audit, test, and train their security personnel regarding any

             new or modified procedures;

         d. Ordering that Defendants segment PII by, among other things, creating firewalls and

             access controls so that if one area of Defendants is compromised, hackers cannot gain

             access to other portions of Defendants’ systems;

         e. Ordering that Defendants purge, delete, and destroy in a reasonable secure manner

             PII not necessary for their provisions of services;

         f. Ordering that Defendants conduct regular database scanning and securing checks;

         g. Ordering that Defendants routinely and continually conduct internal training and

             education to inform internal security personnel how to identify and contain a breach

             when it occurs and what to do in response to a breach; and

         h. Ordering Defendants to meaningfully educate their customers about the threats they

             face as a result of the loss of their financial and personal information to third-parties,

             as well as the steps Defendants’ customers must take to protect themselves.

Fla. Stat. § 501.211(1).

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        141.       Plaintiff bring this action on behalf of themselves and the Class Members for the

relief requested above and for the public benefit in order to promote the public interests in the

provision of truthful, fair information to allow consumers to make informed purchasing decisions

and to protect Plaintiff and the Class Members and the public from Defendants’ unfair methods of

competition and unfair, deceptive, fraudulent, unconscionable, and unlawful practices.

Defendants’ wrongful conduct as alleged in this Complaint has had widespread impact on the

public at large.

        142.       The above unfair and deceptive practices and acts by Defendant were immoral,

unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiff and the

Class Members that they could not reasonably avoid; this substantial injury outweighed any

benefits to consumers or to competition.

        143.       Defendants knew or should have known that the lack of encryption on their

computer systems and data security practices were inadequate to safeguard the Class Members’

PII and that the risk of a data disclosure or theft was high.

        144.       Defendants’ actions and inactions in engaging in the unfair practices and deceptive

acts described herein were negligent, knowing and willful, and/or wanton and reckless.

Plaintiff and the Class Members seek relief under Florida Deceptive and Unfair Trade Practices

Act, Fla. Stat. §§ 501.201, et seq., including, but not limited to, damages, injunctive relief, and

attorneys’ fees and costs, and any other just and proper relief.

                                           COUNT VII
                       Violation of the California Unfair Competition Law,
               Cal. Bus. & Prof. Code § 17200, et seq. – Unlawful Business Practices
                              (On Behalf of the California Subclass)

        145.       Plaintiff re-alleges and incorporates by reference herein all of the allegations

contained in paragraphs 1 through 67.


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       146.    Defendants have violated Cal. Bus. and Prof. Code § 17200, et seq., by engaging

in unlawful, unfair or fraudulent business acts and practices and unfair, deceptive, untrue or

misleading advertising that constitute acts of “unfair competition” as defined in Cal. Bus. Prof.

Code § 17200 with respect to the services provided to the California Class.

       147.    Defendants engaged in unlawful acts and practices with respect to the services by

establishing the sub-standard security practices and procedures described herein; by soliciting

and collecting Plaintiff’s and California Subclass members’ PII with knowledge that the

information would not be adequately protected; and by storing Plaintiff’s and California Subclass

members’ PII in an unsecure electronic environment in violation of California’s data breach

statute, Cal. Civ. Code § 1798.81.5, which requires Defendants to take reasonable methods of

safeguarding the PII of Plaintiff and the California Subclass members.

       148.    In addition, Defendants engaged in unlawful acts and practices by failing to

disclose the Breach to California Subclass members in a timely and accurate manner, contrary to

the duties imposed by Cal. Civ. Code § 1798.82.

       149.    As a direct and proximate result of Defendants’ unlawful practices and acts,

Plaintiff and the California Subclass members were injured and lost money or property, including

but not limited to the price received by Defendants for the services, the loss of California Subclass

members’ legally protected interest in the confidentiality and privacy of their PII, nominal
damages, and additional losses as described above.

       150.    Defendants knew or should have known that Defendants’ computer systems and

data security practices were inadequate to safeguard California Subclass members’ PII and that

the risk of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-

named unlawful practices and acts were negligent, knowing and willful, and/or wanton and

reckless with respect to the rights of members of the California Subclass.

       151.    California Subclass members seek relief under Cal. Bus. & Prof. Code

§ 17200, et seq., including, but not limited to, restitution to Plaintiff and California Subclass
members of money or property that Defendants may have acquired by means of Defendants’

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unlawful, and unfair business practices, restitutionary disgorgement of all profits accruing to

Defendants because of Defendants’ unlawful and unfair business practices, declaratory relief,

attorneys’ fees and costs (pursuant to Cal. Code Civ. Proc. § 1021.5), and injunctive or other

equitable relief.

                                         COUNT VIII
                      Violation of California’s Unfair Competition Law,
               Cal. Bus. & Prof. Code § 17200, et seq. – Unfair Business Practices
                            (On Behalf of the California Subclass)

        152.     Plaintiff re-alleges and incorporates by reference herein all of the allegations

contained in paragraphs 1 through 67.

        153.     Defendants engaged in unfair acts and practices with respect to the services by

establishing the sub-standard security practices and procedures described herein; by soliciting and

collecting Plaintiff’s and California Subclass members’ PII with knowledge that the information

would not be adequately protected; and by storing Plaintiff’s and California Subclass members’

PII in an unsecure electronic environment. These unfair acts and practices were immoral,

unethical, oppressive, unscrupulous, unconscionable, and/or substantially injurious to Plaintiff and

California Subclass members. They were likely to deceive the public into believing their PII was

securely stored, when it was not. The harm these practices caused to Plaintiff and the California

Subclass members outweighed their utility, if any.

        154.     Defendants engaged in unfair acts and practices with respect to the provision of

services by failing to take proper action following the Breach to enact adequate privacy and

security measures and protect California Subclass members’ PII from further unauthorized

disclosure, release, data breaches, and theft. These unfair acts and practices were immoral,

unethical, oppressive, unscrupulous, unconscionable, and/or substantially injurious to Plaintiff and

California Subclass members. They were likely to deceive the public into believing their PII was


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securely stored, when it was not. The harm these practices caused to Plaintiff and the California

Subclass members outweighed their utility, if any.

       155.    As a direct and proximate result of Defendants’ acts of unfair practices, Plaintiff

and the California Subclass members were injured and lost money or property, including but not

limited to the price received by Defendants for the services, the loss of California Subclass

members’ legally protected interest in the confidentiality and privacy of their PII, nominal

damages, and additional losses as described above.

       156.    Defendants knew or should have known that Defendants’ computer systems and

data security practices were inadequate to safeguard California Subclass members’ PII and that the

risk of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-

named unlawful practices and acts were negligent, knowing and willful, and/or wanton and

reckless with respect to the rights of members of the California Subclass.

       157.    California Subclass members seek relief under Cal. Bus. & Prof. Code § 17200, et

seq., including, but not limited to, restitution to Plaintiff and California Subclass members of

money or property that the Defendants may have acquired by means of Defendants’ unfair business

practices, restitutionary disgorgement of all profits accruing to Defendants because of Defendants’

unfair business practices, declaratory relief, attorneys’ fees and costs (pursuant to Cal. Code Civ.

Proc. § 1021.5), and injunctive or other equitable relief.

                                          COUNT IX
                     Violation of the California Consumer Privacy Act,
                      Cal. Civ. Code § 1798.100, et seq. (§ 1798.150(a)
                 (On Behalf of Plaintiff Llamas and the California Subclass)

       158.    Plaintiff re-alleges and incorporates by reference herein all of the allegations

contained in paragraphs 1 through 67.




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       159.    Defendants violated section 1798.150(a) of the California Consumer Privacy Act

(“CCPA”) by failing to prevent Plaintiff’s and California Subclass members’ nonencrypted and

nonredacted PII from unauthorized access and exfiltration, theft, or disclosure as a result of

Defendants’ violations of their duty to implement and maintain reasonable security procedures and

practices appropriate to the nature of the information to protect the PII of Plaintiff and California

Class members.

       160.    As a direct and proximate result of Defendants’ acts, Plaintiff’s and the California

Subclass members’ PII was subjected to unauthorized access and exfiltration, theft, or disclosure

as a result of Defendants’ violation of the duty: through TrueFire’s website, the ecommerce

platform, and/or from the dark web, where hackers further disclosed (“as a result of [Defendants’]

violation of the duty”) TrueFire’s customers’ PII from at least August 3, 2019 to January 14, 2020.

       161.    As a direct and proximate result of Defendants’ acts, Plaintiff and the California

Subclass members were injured and lost money or property, including but not limited to the price

received by Defendants for the services, the loss of California Class members’ legally protected

interest in the confidentiality and privacy of their PII, nominal damages, and additional losses as

described above.

       162.    Defendants knew or should have known that Defendants’ computer systems and

data security practices were inadequate to safeguard California Subclass members’ PII and that the

risk of a data breach or theft was highly likely. Defendants failed to implement and maintain

reasonable security procedures and practices appropriate to the nature of the information to protect

the PII of Plaintiff and the California Class members.

       163.    TrueFire is a limited liability company that is organized or operated for the profit

or financial benefit of TrueFire’s owners, with annual gross revenues over $25 million. TrueFire

collects consumers’ PII as defined in Cal. Civ. Code § 1798.140.

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       164.    Plaintiff and California Subclass members seek relief under § 1798.150(a),

including, but not limited to, recovery of actual damages; injunctive or declaratory relief; any other

relief the court deems proper; and attorneys’ fees and costs (pursuant to Cal. Code Civ. Proc. §

1021.5).

       165.    Plaintiff and the California Subclass members reserve the right to amend this

Complaint as of right to seek statutory damages and relief under Cal. Civ. Code § 1798.100, et

seq.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff, on behalf of himself and all Class Members, requests judgment against

the Defendants and that the Court grant the following:

       A.      An order certifying the Nationwide Class and California Subclass as defined herein,

               and appointing Plaintiff and his Counsel to represent the Class;

       B.      An order enjoining Defendants from engaging in the wrongful conduct alleged

               herein concerning disclosure and inadequate protection of Plaintiff’s and Class

               Members’ PII;

       C.      An order instructing Defendants to purchase or provide funds for credit monitoring

               services for Plaintiff and all Class Members;

       D.      An award of compensatory, statutory, and punitive damages, in an amount to be

               determined;

       E.      An award for equitable relief requiring restitution and disgorgement of the revenues

               wrongfully retained as a result of Defendants’ wrongful conduct;

       F.      An award of reasonable attorneys’ fees, costs, and litigation expenses, as allowable

               by law; and

       G.      Such other and further relief as this Court may deem just and proper.

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                                DEMAND FOR JURY TRIAL

       Plaintiff hereby demands that this matter be tried before a jury.

Date: April 14, 2020                         Respectfully Submitted,

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